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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                           CRIMINAL ACTION
 VERSUS                                                             NO: 19-66
 PATRICIA HARGIS                                                    SECTION: "S"


                                    ORDER AND REASONS

       IT IS HEREBY ORDERED that defendant's Motion for Early Termination of

Probation (Rec. Doc. 60) is DENIED.

                                         BACKGROUND

       On May 20, 2020, defendant was convicted upon her plea of guilty to Count One of the

Bill of Information for filing a false income tax return. Defendant's Guideline Range called for

18 to 24 months incarceration. The court granted a downward variance and sentenced the

defendant to a three-year term of probation with 21 months to be served under home

confinement, with an exception allowing her to leave home to purchase groceries, attend church

and doctors’ appointments, and, with the prior approval of probation, to participate in events

involving her granddaughter. The court also imposed restitution and a fine.

       Defendant now moves for early termination of probation, stating that she has served over

one year of the three-year term, has had no violations in the past year, has paid all her restitution

obligation and fines, and her probation officer does not object to the request. She requests early

termination so that she may drive her granddaughter to a summer job, and to visit her sisters who

live out of state and due to health conditions, cannot drive. The government opposes the motion.
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                                          DISCUSSION

       Under title 18, section 3564(c) of the United States Code, a court may terminate a term of

probation if, after considering the factors set forth in 18 U.S.C. § 3553(a), the court finds such

action is “warranted by the conduct of the defendant and the interest of justice.” “Courts have

generally held that something more than compliance with the terms of probation is required to

justify early termination; early termination is usually granted only in cases involving changed

circumstances, such as exceptionally good behavior.” United State v. Reed, 2020 WL 4530582,

at *2 (E.D. La. June 5, 2020).

       Filings submitted to the court following the submission of the instant motion reflect that

defendant's granddaughter does not need transportation to her summer job. Further, if defendant

wishes to visit with her sisters, or to have one of them move in with her, there is no reason why

another individual besides the defendant cannot provide transportation. The defendant has not

established extraordinary circumstances to warrant early termination. Further, in granting the

defendant a downward variance, the court specifically weighed the § 3553(a) factors, including

the history and characteristics of the defendant, and the need for the sentence to deter criminal

activity, in fashioning her original sentence. A sentence reduction would undermine the goals of

18 U.S.C. § 3553(a). In sum, termination of probation is not warranted by the conduct of the

defendant and the interest of justice. Accordingly,

       IT IS HEREBY ORDERED that defendant's Motion for Early Termination of




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Probation (Rec. Doc. 60) is DENIED.



      New Orleans, Louisiana, this 29th
                                   _____ day of June, 2021.



                       ____________________________________
                            MARY ANN VIAL LEMMON
                        UNITED STATES DISTRICT JUDGE




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